Case 2:10-md-02179-CJB-DPC Document 50-4 Filed 08/19/10 Page 1 of 2

Carl J. Hebert

From:
Sent:
To:

Subject:

----- Original Message -----

From: Murphy, Silvia <Silvia.Murphy@sol.doi.gov>

To: DGodwin@GodwinRonquillo.com <DGodwin@GodwinRonquillo.com>; t_eason@weiss-
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Ce: Jeff.R.Bray@uscg.mil <Jeff.R.Bray@uscg.mil>

Sent: Tue Aug 17 08:27:10 2010

Subject: FW: BOP Forensic Analysis

Dear Mr. Godwin and Mr. Eason,

Thank you for your messages. The Department of the Interior anticipates awarding a contract
for the forensic testing services in mid-September and finalizing the testing plan by October 1.
The testing would begin then. Of course, this schedule is just a guideline; we won't know how
long each step will take until we get to it, but absent any major obstacles, we expect this
schedule to be reasonably accurate. The contract will require video recording of the
examination in its entirety, and that video will be made available through appropriate
procedures.

EXHIBIT

: baz

Case 2:10-md-02179-CJB-DPC Document 50-4 Filed 08/19/10 Page 2 of 2

The Joint Investigation Team encourages you to include your requests in the joint-PII
submission to the Team about the testing objectives, parameters, and protocols. Please be

aware that multiple videographers and observers may present security and management issues
at the test site.

Please let us know if you have other questions.

Thanks,
Silvia

